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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 FCA US LLC,                                 *
                                             *
        Plaintiff,                           *
                                             *
                v.                           *
                                             *
 The International Union, United Automobile, *            Civil Action No. 1:24-cv-12557-IT
 Aerospace and Agricultural Implement        *
 Workers of America (UAW) and UAW            *
 Local 422,                                  *
                                             *
        Defendants.                          *


                                   MEMORANDUM & ORDER

                                          January 28, 2025
TALWANI, D.J.

       Before the court is Defendants The International Union, United Automobile, Aerospace

and Agricultural Implement Workers of America (“UAW”) and UAW Local 422’s Motion to

Transfer Action [Doc. No. 15] (“Defendants’ Motion to Transfer”), in which Defendants seek to

transfer this action to the Central District of California pursuant to 28 U.S.C. § 1404, or, in the

alternative, to dismiss or stay this action pending the outcome of FCA US LLC v. International

Union, United Automobile, Aerospace and Agricultural Workers of America (UAW) and UAW

Local 230, C.D. Cal. Case No. 5:24-cv-02123-KK. Also pending before the court is Plaintiff

FCA US LLC’s (“Stellantis”) Motion to Stay Proceedings [Doc. No. 20] (“Plaintiff’s Motion to

Stay”), in which Plaintiff seeks to stay all proceedings in this action (including a decision on

Defendants’ Motion to Transfer), see Pl.’s Mem. ISO Mot. to Stay (“Pl.’s Stay Mem.”) at 9

[Doc. No. 22], pending a decision by the Judicial Panel on Multidistrict Litigation (“Panel”) on

Plaintiff’s motion to transfer this and other actions to the Eastern District of Michigan for
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consolidation or coordinated pretrial proceedings pursuant to 28 U.S.C. § 1407 (“Plaintiff’s §

1407 Transfer Motion”).

        I. Plaintiff’s Motion to Stay

        The court begins with Plaintiff’s Motion to Stay [Doc. No. 20]. Plaintiff reports that it

“filed substantially similar lawsuits against International UAW, as well as relevant local unions,

in this Court and in eleven other jurisdictions[.]” Pl.’s Stay Mem. at 2 [Doc. No. 22]. 1 Plaintiff

filed each action separately “because it could only file in forums that would possess personal

jurisdiction over the local union defendants.” Id. at 2-3. In each of these actions, Defendants filed

a motion to transfer the action to the Central District of California. Id. at 3 & n.1. Plaintiff then

filed its § 1407 Transfer Motion with the Panel. Id. at 5.

        Plaintiff asserts that stays while a motion to transfer is pending before the Panel are

routine. Id. at 5. But, as the Panel Chair expressly directed in letters to the involved judges, the

Panel has given the parties an opportunity to brief fully the question of transfer and to have a

hearing at its bimonthly hearing session, and “in the meantime, [the involved judges’]

jurisdiction continues until transfer to an MDL – if the Panel so orders – becomes effective.”

Letter from Chair of the Panel – to Involved Judges, IN RE: FCA US LLC Letter 311 Labor

Contract Litigation, MDL No. 3142 (Dec. 12, 2024); see also JPML Rule 2.1(d) (“The pendency

of a motion . . . before the Panel pursuant to 28 U.S.C. § 1407 does not affect or suspend orders

and pretrial proceedings in any pending federal district court action and does not limit the pretrial

jurisdiction of that court.”).



1
 In addition to this District and the Central District of California, Stellantis filed cases in the
District of Arizona, District of Colorado, District of Minnesota, District of Oregon, Eastern
District of Michigan, Northern District of Georgia, Northern District of Illinois, Northern District
of Ohio, Northern District of Texas, and Southern District of Indiana. Id. at 3 n.1.

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       Plaintiff argues that Defendants would not be prejudiced by a stay because they “concede

that centralization is appropriate (though they disagree on the appropriate venue), so awaiting the

[Panel’s] determination is aligned with Defendants’ interests.” Pl.’s Stay Mem. at 6 [Doc. No.

22]. Plaintiff argues further that there is no prejudice to Defendants because they “have already

indicated their willingness to stay all pretrial discovery deadlines in this case and the other

actions (other than consideration of [the UAW’s] Rule 12(c) motion in the Central District of

California and venue motions).” Id. But to suggest that these facts show a lack of prejudice

ignores Defendants’ interest in the matters reserved: the local union’s right to choose when to

waive venue and a speedy determination on a potentially dispositive matter that is fully briefed

in the Central District of California.

       Plaintiff asserts further that it would be prejudiced absent a stay because it can obtain

consolidation only by the § 1407 Transfer Motion to the Panel as the various local unions have

refused to consent to personal jurisdiction in the Eastern District of Michigan and, while

awaiting potential consolidation by the Panel, Plaintiff faces the risk of conflicting rulings on

Defendants’ motions to transfer the actions to the Central District of California. See Pl.’s Stay

Mem. at 7-8 [Doc. No 22]. But Plaintiff has not shown how the various courts’ consideration of a

transfer pursuant to § 1404 would cause Plaintiff prejudice. If a court grants Defendants’ motion,

Plaintiff will have one fewer forum in which it may need to litigate a motion for judgment on the

pleadings pending a decision by the Panel. 2 And if a court denies Defendants’ motion, Plaintiff

can avoid the risk of conflicting rulings on anticipated motions for judgment on the pleadings by

agreeing to consolidation in the Central District of California, pending a decision by the Panel.



2
  Plaintiff reports that Defendants have agreed to a stay of all other proceedings other than a
transfer motion and motion for judgment on the pleadings. Pl.’s Stay Mem. at 6 [Doc. No. 22].

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       The parties also dispute the likelihood that the Panel will grant Plaintiff’s § 1407 Transfer

Motion and Plaintiff argues that because three district courts have entered stays pending the

Panel’s decision on that motion, Defendants’ pending motion for judgment on the pleadings in

the Central District of California “cannot eliminate this dispute’s multidistrict character,

regardless of how this Court and the other courts rule on [Defendants’ transfer] motions.” Pl.’s

Reply ISO Mot. to Stay at 3 [Doc. No. 29]. But these arguments miss the point. The question of

whether the Panel should consolidate these proceedings is before the Panel, and not the district

courts. In the meantime, while a § 1407 Transfer Motion is pending before the Panel, the district

courts are expected to proceed in the usual course.

       In sum, the court finds no grounds to enter a stay of proceedings while the Panel is

considering Plaintiff’s § 1407 Transfer Motion. Accordingly, Plaintiff’s Motion to Stay

Proceedings [Doc. No. 20] is DENIED.

       II.     Defendants’ Motion to Transfer

       Defendants seek to transfer this action to the Central District of California pursuant to 28

U.S.C. § 1404. 3 Defendants note that Plaintiff filed the first of the twelve actions discussed

above in the Central District of California. Defs.’ Mem. ISO Mot. to Transfer (“Defs.’ Transfer

Mem.”) at 2-3 [Doc. No. 16]; see also Decl. of Eileen B. Goldsmith ¶¶ 2-3, Ex. 1 [Doc. No. 16-

1]. Defendants contend that to avoid the waste of judicial resources and the potential for

conflicting rulings, the court should defer to the district court where an action was first filed.

Defs.’ Transfer Mem. at 1 [Doc. No. 16] (citing TPM Holdings, Inc. v. Intra-Gold Industries,

Inc., 91 F.3d 1, 4 (1st Cir. 1996)). Defendants assert that there are no reasons to decline to defer



3
 The court does not reach Defendants’ alternative request that the court dismiss or stay this
action pending the outcome of the similar case pending in the Central District of California.

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to the court with the first-filed action where the actions are overwhelmingly similar and the first-

filed forum was selected by Plaintiff. 4

        Under 28 U.S.C. § 1404, “[f]or the convenience of parties and witnesses, in the interest of

justice, a district court may transfer any civil action to any other district or division where it

might have been brought or to any district or division to which all parties have consented.”

Plaintiff does not disagree that the actions are substantially similar and should be before a single

district court. Plaintiff also does not suggest that this case belongs in the District of

Massachusetts. See Pl.’s Opp. to Mot. to Transfer at 2 [Doc. No. 26]. Plaintiff contends,

however, that the appropriate forum is the Eastern District of Michigan, not the Central District

of California. Plaintiff concedes that this case cannot be transferred under § 1404 to the Eastern

District of Michigan where the defendant local unions have not consented to proceeding there.

Id. at 11 n.8.

        Accordingly, the court need not determine whether to apply the “first-filed rule.” Where

all parties agree that these proceedings should be before a single district court and Plaintiff has

pointed to no other venue where proceedings may be transferred for consolidation under § 1404

absent Defendant UAW Local 422’s waiver of venue, the court finds a transfer of the instant

case to the Central District of California to be in the interest of justice. The court expresses no

opinion as to whether the Panel should consolidate the twelve pending cases and transfer them to




4
  Defendants argue further that the case is most developed in the Central District of California
and that the first-filed court should decide which forum is appropriate. Defs.’ Transfer Mem. at
12 [Doc. No. 16]. But the fact that a motion for judgment on the pleadings is pending in the
Central District of California case is simply the result of Defendants’ decision to file it there and
to file answers in the other cases. And the Central District of California is not in a position to
decide in the first instance the § 1404 forum question, where there is no competing transfer
motion filed in that case.

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the Eastern District of Michigan as that § 1407 question is before the Panel and not this court.

Accordingly, Defendants’ Motion to Transfer Action [Doc. No. 15] to the Central District of

California is GRANTED.



       IT IS SO ORDERED.

       January 28, 2025                              /s/ Indira Talwani
                                                     United States District Judge




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